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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                LUBBOCK DIVISION


 In re:


 REAGOR-DYKES MOTORS.LP,et al}                           Case No. 18-50214-rlj-11

                 Debtors.                                (Jointly Administered)



                     MOTION FOR RELIEF FROM AUTOMATIC STAY

          COMES NOW International Bank of Commerce ("IBC"), a creditor and party-in-interest

 herein, and for its Motionfor Relieffrom Automatic Stay, states as follows:

          1.    The Debtors in these jointly administered bankruptcy cases are part of a larger

 corporate enterprise known as the Reagor-Dykes Automobile Group ("RDAG"), which also
 includes non-Debtor entities.

          2.    IBC and certain non-Debtor members ofRDAG entered into an approximately $35

 million credit facility (the "IBC Facility"). Under the IBC Facility, IBC's principal borrower is




 ^ The Debtors are Reagor-Dykes Imports, LP(Case No. 18-50215), Reagor-Dykes Amarillo(Case No. 18-50216),
 Reagor-Dykes Auto Company,LP (Case No. 18-50217), Reagor-Dykes Plain view, LP(Case No. 18-50218), and
 Reagor-Dykes Floydada, LP(Case No. 18-50219).


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non-debtor, D and R Acquisitions, L.L.C. ("Acquisitions"). The Debtors, among others, are

guarantors ofthe IBC Facility.

         3.    Acquisitions is the owner of certain RDAG real property, including, without

limitation, real estate that serves as locations for the Debtors("Debtor Locations"). The Debtors

may have, or at one time had, leasehold interests in those properties. Exhibit A hereto describes

the potential leasehold interest and relationship for each of the Debtor Locations.

         4.    By virtue ofDeeds ofTrust executed by the Acquisitions in favor ofIBC,IBC holds

security interests in the real property that serves as the Debtor Locations.

         5.    In that certain Subordination Agreement dated February 27, 2018, each of the

Debtors, as "Tenants", agreed with IBC that the "leasehold estate created by each Lease, and all

rights and privileges of each Tenant under any Lease are subject and subordinate to the lien ofthe

[IBC] Deeds of Trust and to any renewals, modifications, consolidations, replacements and
extensions ofthe Deeds of Trust to the full extent of the obligations secured by the Deeds of Trust

now or in the future."


         6.    Since the commencement of these bankruptcy cases. Acquisitions has failed to

make required monthly loan payments to IBC, and is in default under the IBC Facility.
         7.    Since there has been a payment default, inter alia, under the IBC Facility, IBC has

the right to foreclose on the Debtor Locations through judicial proceedings, or non-judicial sales,
under its Deeds of Trust ("Foreclosures").

         8.    Under the circumstances, IBC does not believe that any of its anticipated

Foreclosures against non-Debtors will constitute an "act against property" under 11 U.S.C. §§

362(a) and (d)(2), or otherwise violate the automatic stay provisions of Section 362(a).




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         9.    In an abundance of caution, however, IBC seeks an order (i) determining that the

automatic stay in these cases does not prevent the Foreclosures, or (ii) modifying the automatic

stay of Section 362(a)to permit the Foreclosures to be commenced and prosecuted to completion.

         10.   Cause exists for relieffrom the automatic stay under 11 U.S.C.§ 362(d)(1)by virtue

ofthe fact, inter alia, that the anticipated Foreclosures are against non-Debtor entities and will not

seek to alter the Debtors' existing rights, if any, in the Debtor Locations.

         11.   Under the circumstances of this matter, it is appropriate that the stay provided by

Fed. R. Bankr. P. 4001(a)(3) be ordered not to apply.

                                              NOTICE


         PURSUANT TO LOCAL BANKRUPTCY RULE 4001-1(b), A RESPONSE IS

         REQUIRED TO THIS MOTION,OR THE ALLEGATIONS IN THE MOTION MAY BE

         DEEMED ADMITTED, AND AN ORDER GRANTING THE RELIEF SOUGHT MAY

         BE ENTERED BY DEFAULT.




         ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK OF THE

          UNITED STATES BANKRUPTCY COURT AT 1205 TEXAS AVENUE, LUBBOCK,

         TEXAS 79401, BEFORE CLOSE OF BUSINESS ON SEPTEMBER 14, 2018, WHICH

         IS AT LEAST 14 DAYS FROM THE DATE OF SERVICE HEREOF. A COPY SHALL

         BE SERVED UPON COUNSEL FOR THE MOVING PARTY AND ANY TRUSTEE

         OR EXAMINER APPOINTED IN THE CASE. ANY RESPONSE SHALL INCLUDE A

          DETAILED AND COMPREHENSIVE STATEMENT AS TO HOW THE MOVANT

          CAN BE"ADEQUATELY PROTECTED"IF THE STAY IS TO BE CONTINUED.




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        WHEREFORE,IBC respectfully requests that this Court(a)enter its order(i)determining

that the automatic stay in these cases does not prevent the Foreclosures, or (ii) modifying the

automatic stay of Section 362(a) to permit the Foreclosures to be commenced and prosecuted to

completion; and (b) direct such other and further relief as is fair and equitable under the

circumstances.




DATED this 31st day of August, 2018.               Respectfully Submitted,


                                                  /s/John D. Dale
                                                   John D. Dale, TX 24088892
                                                   Mark D.G. Sanders, OK 22922
                                                   GableGotwals
                                                   1100 ONEOK Plaza
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                                                   Commerce




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                                CERTIFICATE OF SERVICE


       I hereby certify that on August 31,2018,a true and correct copy ofthe foregoing document
was served via EOF or first-class U.S. Mail, upon all the parties in interest required by Local Rule
4001-l(a).

                                                     /s/John D. Dale
                                                     John D. Dale




 {1856006;}
   Address
(according to
Deed of Trust)   County                           Deed of Trust Description                                   Landlord        Tenant

                          Tract 1: A 3.0 acre tract out of the South part of Section 29, Block JK-2,
                          Hale County, Texas described by metes and bounds as follows:
                          BEGINNING at the intersection of the West right-of-way line of U.S.
                          Highway No.87 and the South line of Section 28, Block JK-2, Hale
                          County, Texas, said point being 2678.7 feet from the S.W. corner of said
                          Section 29; THENCE S^IS'W along said highway right-of-way 452.74 feet
                          to a S/8 inch steel rod; THENCE S 84°45'W 300.00 feet to a 5/8 inch steel
                          rod; THENCE S 5°15'E 418.47 feet to a 5/8 inch steel rod in the South
                          line of said Section 29; THENCE S 88°44'E along the said South line of
                          Section 29 301.95 feet to the PLACE OF BEGINNING and containing 3.0
                          acres, more or less.
                                                                                                                         Lease #1:
                          Tract 2: A 2.245 acre tract of land out of the West part of Section 29,                        Reagor-Dykes
                                                                                                        Lease #1: D&R                    Lease #1:
                                                                                                                                                      Case 18-50214-rlj11 Doc 196 Filed 08/31/18




                          Block JK-2, Hale County, Texas, described by metes and bounds as                               Auto Company,
                                                                                                        Acquisitions,                    3/1/2013 -
                          follows: BEGINNING at the NW corner of Section 29, block JK-2, Hale                            LP
 1220 S. 1-27,                                                                                          LLC                              2/28/2016
                          County, Texas; THENCE E 2093.8 feet to a point; THENCE S 587.0 feet to
Plalnvlew,TX
                          a point; THENCE S snS'E 1523.35 feet to a point; THENCE S TMS'SS" E                            Lease #2:
    79072                                                                                               Lease #2: D&R                    Lease #2:
                          493.21 feet to the BEGINNING corner of this tract; THENCE S               E                    Reagor-Dykes,
                                                                                                        Acquisitions,                    7/1/2015 -
                          318.69 feet a steel rod; THENCE N 84M5'E 300.00 feet to a steel rod In                         Plainview, LP
                                                                                                        LLC                              6/30/2019
                          the West right-of-way line of U.S. Highway No. 87; THENCE N S'lS' W                            d/b/a Reagor-
                          318.37 feet to a steel rod; THENCE S 84°45' W 314.26 feet to the PLACE                         Dykes Toyota
                          OF BEGINNING and containing 2.245 acres, more or less

                          Tract 3: A 5.245 acre tract of land out of the West part of Section 29,
                          Block JK-2, Hale County, Texas, described by metes and bounds as
                          follows: BEGINNING at the NW corner of Section 29, Block JK-2, Hale
                                                                                                                                                      Entered 08/31/18 16:04:56




                          County, Texas; THENCE E along the North line of said Section 29 2093.8
                          fee to a point; THENCE S 587 feet to a point; THENCE S 5°15' E 1523.35
                          feet to a point; THENCE 7°48'55" E 493.21 feet to the BEGINNING corner
                          of this tract; THENCE S 7''48'55" E 318.69 fee to a point; THENCE S 5'15'
                          E 418.87 feet to a point in the road; THENCE N 88°44' W 355.35 feet to a
                          point; THENCE N 699.45 feet to a point; THENCE N 84°45' E 274.8 feet to
                                                                                                                                                      Page 6 of 11
   Address
(according to
Deed of Trust)   County                            Deed of Trust Description                                  Landlord       Tenant

                          the PLACE OF BEGINNING and containing 5.245 acres of land, more or
                          less
                          TRACT 4:
                          All of that certain 1.89 acre tract out of the Booker Addition, out of a
                          1.19 acre tract and out of a 4.64 acre tract and out of Section 7, Block
                          35, Township 5 North, T & P Railroad Company Survey, Dawson County,
                          Texas, as per plat recorded in Volume 3, Page 96 of the Plat Records,
                          Dawson County, Texas, and being more particularly described in metes
                          and bounds as follows:                                                                         Reagor Dykes
                                                                                                                         Motors, L.P.
                                                                                                        D&R                               3/1/2013 -
1207 S. Lynn     Dawson   BEGINNING at a point from whence the Southeast corner of Block 14 of                           d/b/a Spike
                                                                                                        Acquisitions                      2/28/2016
                          the W.D. Turner Addition to the Town of Lamesa in Dawson County,                               Dykes Ford
                          Texas, bears North IS'SS' East a distance of 282 feet and North lA'lS'                         Lincoln
                          West a distance of 20 feet; THENCE North TS'BS' East a distance of 112
                          feet; THENCE South lA'lS' East a distance of 95 feet; THENCE North
                                                                                                                                                        Case 18-50214-rlj11 Doc 196 Filed 08/31/18




                          75''35' East a distance of 160 feet; THENCE South lA'lS' East a distance
                          of 275 feet; THENCE South 75°35' West a distance of 256.28 feet;
                          THENCE North 16°41' West a distance of 370.29 feet to the PLACE OF
                          BEGINNING.
 215 S. Main              Tract 1: Lots Fourtheen (14), Fifteen (15), Sixteen (16), Seventeen (17),
   (Lease                 Eighteen (18), and Nineteen (19), Block Eighty-Three (83), Original Town
 purports to              of Floydada, Floyd County, Texas, according to the Map, Plat and/or
 cover 221S.              Dedicaiton Deed thereof, recorded in Volume 2-F, Page 294, Deed
Main St.; 215             Records of Floyd County, Texas.
 5. Main St.;
                                                                                                                         Reagor-Dykes
 216 S. Main              Tract 2: All of Lots Seven (7), Eight (8), Nine (9), Ten (10), Eleven (11),
                                                                                                        D&R              Floydada, L.P.
  St.; 219 S.             and Twelve (12), Block Eighty-Four (84), Original Town of Floydada,                                             11/1/2015 -
                                                                                                        Acquisitions,    d/b/a Reagor-
Main St.; 301             Floyd County, Texas, according to the Map, Plat and/or Dedication Deed                                          10/31/2018
                                                                                                                                                        Entered 08/31/18 16:04:56




                                                                                                        LLC              Dykes
 S. Main St.;             thereof, recorded in Volume 2-F, Page 294, Deed Records of Floyd
                                                                                                                         Chevrolet
 315 S. Main              County, Texas.
  St.; 317 S.
Main St.; 319             Tract 3: All of Lots Ten (10) and Eleven (11), Block Ninety-Three (93),
 S. Main St;              Original Town of Floydada, Floyd County, Texas, according to the Map,
  and other               Plat, and/or Dedication Ded thereof, recorded in Volume 2-F, Page 294,
                                                                                                                                                        Page 7 of 11




property with             Deed Records of Floyd County, Texas.
  Address
(according to
Deed of Trust)                                      Deed of Trust Description                                  Land ord       Tenant

    a legal
description of             Tract 4: Lots Fifteen (15), Sixteen (16), Seventeen (17), Eighteen (18),
PTTR 2, BLK                Nineteen (19), Twenty (20), Twenty-One (21), Twenty-Two (22), Twenty-
 9-10: Price               Three (23), and Twenty-Four (24), Block Ninety-Four (94), Original Town
First Addition             of Floydada, Floyd County, Texas, according to the Map, Plat and or
(South Rails               Dedication Deed thereof, recorded in Volume 2-F, Page 294, Deed
  Highway)                 Records of Floyd County, Texas.

                           Tract 5: A tract of three & 75/100(3.75) acres of land in Floyd County,
                           Texas, out of Blocks Nos. 9 and 10, in Price First Addition to the Town of
                           Floydada, in Floyd County, Texas, being out of a parcel of 5-31/100 acres
                           out of Blocks Nos. 1, 9, and 10 in such Price First Addition as such parcel
                           is described in Deed dated November 11,1976, recorded Vol. 208, Page
                           400, Deed Records of Floyd County, Texas, from J.M. Willson Jr., to
                           Floydada Motel Inc., to which reference is here made for all purposes;
                                                                                                                                                         Case 18-50214-rlj11 Doc 196 Filed 08/31/18




                           such tract of 3-75/100 acres of land being described by metes and
                           bounds, according to Field Note prepared by Carl Williams, Registered
                           Public Surveyor, dated October 6,1978, recorded Vol. 214, Page 880,
                           Deed Records of Floyd County, Texas, as more particularly decsribed in
                           the Deed of Trust.
                           Lots Five (5), Block One (1), I.A. Boyd Subdivision of Block One (1) of                        Reagor Auto
                           South Side Addition to the City of Lubbock, Lubbock County, Texas,                             Mall, LTD d/b/a
112119th St.               according to the map, plat and/or dedication deed thereof recorded in                          Reagor Auto
(Same Lease                Volume 92, Page 187 of the Deed Records of Lubbock County, Texas;             D&R              Mall; Prme        3/1/2013 -
                 Lubbock
as 130119th                subject to mineral and/or royalty reservations and restrictive covenants      Acquisitions     Capital Auto      2/28/2016
     St.)                  of record; and subject to easements and rights-of-way of record or                             Lease; and
                           visible on the ground.                                                                         Reagor-Dykes
                                                                                                                          Imports
                                                                                                                                                         Entered 08/31/18 16:04:56




                           Tract 1: A 0.773 acre tract of land being a portion of Lot 5, Block 6 of
                           Western-Air Addition Unit No. 19, an addition to the City of Amarillo,                         Reagor-Dykes
 4710-4706                 Randall County, Texas, according to the recorded map or plat thereof of       D&R              Amarillo, L.P.
                                                                                                                                            9/1/2013 -
Canyon Drive,    Randall   record in Volume 1232 Page 28, of the Deed Records of Randall County,         Acquisitions,    d/b/a Reagor-
                                                                                                                                            8/31/2016
 Amarlllo, TX              Texas, and a portion of Lot 3, Block No 6, Western-Air Addition Unit No.      LLC              Dykes
                           17, an addition to the City of Amarillo, Randall County, Texas, according                      Mitsubishi
                                                                                                                                                         Page 8 of 11




                           to the recorded map or plat thereof of record in Volume 1163, Pages
  Address
(according to
Deed of Trust)   County                          Deed of Trust Description
                          171 and 172, of the Deed Records of Randall County, Texas, and being
                          further described by metes and bounds as follows: BEGINNING at a 1/2
                          inch iron rod found for the Northeasterly comer of said Lot No. 5. Block
                          6 and being in the Northwesterly monumented right of way line of
                          Interstate Highway 27; THENCE South 35° 25' 59" West, along the
                          Northwesterly line ofi-27, a distance of 73.29 feet to a 3/8 Inch iron rod
                          with cap stamped "RPLS 4664" found; THENCE North 54" 34' 20" West, a
                          distance 358.05 feet to a 3/8 Inch iron rod with cap stamped "RPLS
                          4664" found; THENCE North 35" 27" 21" East, a distance of 73.40 feet to
                          a 1/2 inch iron rod with cap stamped "RPLS 2507" found; THENCE South
                          54" 33' 18" East, a distance of 93.07 feet to a mag nail set in pavement;
                          THENCE North 35° 28'48" East, a distance of 28.00 feet to a mag nail set
                          in pavement; THENCE South 54° 33' 18" East, a distance of264.94 feet to
                          an "X" set in concrete; THENCE South 35° 28'48" West, a distance
                          of28.00 feet to the PLACE OF BEGINNING. Said tract contains a
                                                                                                       Case 18-50214-rlj11 Doc 196 Filed 08/31/18




                          computed area of 0.773 acres of land.

                          Tract 2: A 1.56 acre tract of land being a portion of Lot No.5, Block No.6
                          of Western-Air Addition Unit No. 19, an addition to the City of Amarillo,
                          Randall County, Texas, according to the recorded map or plat thereof, of
                          record in Volume 1232, Page 18 of the Deed Records of Randall County,
                          Texas, said 1.56 acre tract of land being further described by metes and
                          bounds as follows: BEGINNING at a 1/2" rebar (2507), found for the
                          most Southern comer of said Lot No.5 being In the Northwesterly
                          monumented right-of-way line of Interstate Highway No. 27; THENCE N
                          54° 34' 20" W.(Base Bearing), along the Southwesterly line of said Lot
                          No. 5, a distance of 358.14 feet to a 1/2" rebar (2507), found for the
                          most Westerly comer of said Lot No. 5, the most Westerly comer of this
                                                                                                       Entered 08/31/18 16:04:56




                          tract of land; THENCE N 35° 27' 40" E. along the Northwesterly line of
                          said Lot No. 5, a distance of 189.63 feet to a 3/8" rebar with a cap
                          marked "RPLS 4664" set for the most Northerly corner of this tract of
                          land, whence a 1/2" rebar(2507)found for the most Northerly comer of
                          said Lot No.5 bears N 35° 27' 40" E. 73.40 feet; THENCE S 54° 34' 21" E. a
                          distance of 358.05 feet to a 3/8" rebar with a cap marked "RPLS 4664",
                                                                                                       Page 9 of 11




                          set in the Northwesterly monumented right-of-way line of Interstate
   Address
(according to
Deed of Trust)   County                            Deed of Trust Description                               Land brd
                           Highway No. 27 and the Southeasterly line of said Lot No.5 whence a
                           1/2" rebar found for the most Easterly comer of said Lot No.S bears N.
                           35° 25' 59" E, 72.29 feet; THENCE S 35° 25' 59" W.along the
                           Northwesterly monumented right-of-way line of Interstate Highway No.
                           27 and the Southeasterly line of said Lot No. 5, a distance of 189.63 feet
                           to the POINT OF BEGINNING. Said tract contains a computed area of
                           1.56 acres of land.
                           TRACT 2: Lots Sixteen (16), Seventeen (17), Eighteen (18), Nineteen (19)
                           and Twenty (20), Block One (1), Pickett and Penny Addition to the City of
                           Lubbock, Lubbock County, Texas, according to the map, plat, and/or
                           dedication deed thereof recorded in Volume 26, Page 2, and re-flled in
                           Volume 26, page 68, of the Deed Records of Lubbock County, Texas; and
                           a strip of land 9.00 feet wide extending North and South, running
                                                                                                                                         $25,000/month
                           entirely across and adjacent to the West ends of Lots 18,19, and 20, and
                           being same 9.00 foot strip of land referred to in a mandate recorded in
                                                                                                                                         *Effective
                                                                                                                                                         Case 18-50214-rlj11 Doc 196 Filed 08/31/18




                           Volume 251, Page 537, of the Deed Records of Lubbock County, Texas;
                                                                                                                                         12/1/15, rent
                                                                                                                                         increased to
                           LESS, SAVE AND EXCEPT that portion of said Lots 18 and 19 conveyed to                       Reagor Auto
                                                                                                                                         $50,000/month
                           the City of Lubbock in Volume 891, Page 585, of the Deed Records of                         Mall, LTD d/b/a
                                                                                                                                         (See 11/27/15
                           Lubbock County, Texas, and being said being portion being further                           Reagor Auto
                                                                                                                                         Lease
                           described by metes and bounds as follows: BEGINNING at a point 6.00          D&R            Mall; Prme
                 Lubbock                                                                                                                 Addendum)
                           feet North of the Southeast corner of said Lot 18, Block I, Pickett and      Acquisitions   Capital Auto
                           Penney Addition; THENCE North 03°59'30" West to a point in said Lot                         Lease; and
                                                                                                                                         ^Effective
                           19, a distance of 36.44 feet to a point 5.69 feet West and 2.00 feet                        Reagor-Dykes
                                                                                                                                         10/1/16, rent
                           North of the Southeast corner of said Lot 19; THENCE South 17°59'00"                        Imports
                                                                                                                                         increased to
                           East, along the present West right-of-way of Avenue L, a distance of
                                                                                                                                         $52,000/month
                           18.95 feet to a point in the East line of said Lot 19; THENCE South, along
                                                                                                                                         (See 9/28/16
                           the East line of said Lot 19, a distance of 18.95 feet to the Point of
                                                                                                                                                         Entered 08/31/18 16:04:56




                                                                                                                                         Lease
                           Beginning; and
                                                                                                                                         Addendum)

                           LESS, SAVE AND EXCEPT that portion of said Lots 18,19, and 20
                           conveyed to the City of Lubbock in Volume 561, Page 93, of the Deed
                           Records of Lubbock County, Texas, and being said portion being further
                           described by metes and bounds as follows: BEGINNING at a point in the
                           East line of said Lot 18, and said point being 24.95 feet North of the
                                                                                                                                                         Page 10 of 11
    Address
 (according to
 Deed of Trust)   County                          Deed of Trust Description
                           Southeast corner of said Lot 18; THENCE North, along the East line of
                           said Lots 18,19, and 20, a distance of 77.00 feet to a point and said
                           point being the intersection of the East line of said Lot 20 and the South
                           right-of-way line of 19th Street; THENCE West, along the South right-of-
                           way line of 19th Street, a distance of 25.00 feet to a point; THENCE
                           Southerly, across Lots 18,19, and 20, a distance of 50.95 feet to the
                           Point of Beginning; and

                           LESS, SAVE AND EXCEPT that portion of said Lot 20 awarded to the City
                           of Lubbock in a Final Judgment recorded in Volume 687, Page 239, of
                           the Deed Records of Lubbock County, Texas, and being said portion
                           being further described by metes and bounds as follows: BEGINNING at
                           the Northwest corner of the hereinabove described tract of land;
                           THENCE East, along the North property line of the hereinabove
                           described tract of land, a distance of 60.00 feet to the Northeast corner
                                                                                                        Case 18-50214-rlj11 Doc 196 Filed 08/31/18




                           of said tract; THENCE South, along the East boundary line of said tract of
                           land to a point in the South property line of a proposed street, which
                           said point is 18.26 feet South of the North line of Section Seven (7),
                           Block B, Lubbock County, Texas; THENCE Westerly, a distance of 60.00
                           feet to a point in the West boundary line of the hereinabove described
                           tract of land, which point is 18.42 South of said section line; THENCE
                           North, a distance of 18.42 feet to the Point of Beginning.
                                                                                                        Entered 08/31/18 16:04:56
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{1856638;}
